20

21

22

23

24

25

26

27

28

29

30

Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.314 Page 1 of 16

Patrick McMahon, WSBA #18809
Attorney for Defendants
Carlson & McMahon, PLLC
715 Washington Street
P.O. Box 2965
Wenatchee, WA 98807-2965
509-662-6131
509-663-0679 Facsimile
patm@carlson-mcmahon.org
THE HONORABLE ROSANNA MALOUF PETERSON
MAY 14, 2019 AT 6:30 P.M.
WITHOUT ORAL ARGUMENT

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

JOSHUA BRENT STULLER, NO. 2:18-cv-00178-RMP
individually and on behalf of all others
similarly situated, DECLARATION OF PATRICK
MCMAHON SUPPORTING
Plaintiff, DEFENDANTS’ MOTION TO
vs COMPEL PRODUCTION OF
‘ PLAINTIFF’S HIGH SCHOOL
CHELAN COUNTY, WASHINGTON; RECORDS

BILL LARSEN, in his official capacity
as Interim Director of the Chelan
County Regional Justice Center;
LESLIE CARLSON, in her official
capacity as the Chelan County Regional
Justice Center Mental Health Manager;
and their officers, agents, employees,
and successors,

 

Defendants.

 

 

Carlson & McMahon, PLLC
tei OF PATRICK MCMAHON 715 Washington Street / Post Office Box 2965

Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679
11

12

13

14

15

20

21

22

23

24

25

26

27

28

29

30

 

Case 2:18-cv-00178-RMP ECF No. 36 _ filed 04/11/19 PagelD.315 Page 2 of 16

I, Patrick McMahon, being first duly sworn under oath, declare that the
following is true and correct.

1. I am the lead defense attorney in the above-referenced matter and I
am authorized on behalf of my clients to submit this Declaration supporting
Defendants’ Motion to Compel Production of Plaintiff Joshua Stuller’s high
school and community college records.

2. The matters set forth in my Declaration are based on my personal
knowledge and I am competent to testify to the matters stated herein.

3. On February 27, 2019, Interim Director of the Chelan County
Regional Justice Center, Bill Larsen, propounded to Plaintiff, Joshua Brent
Stuller, his First Set of Interrogatories and Request for Production of
Documents. (See Exhibit No. 1).

4. On April 8, 2019, I contacted Plaintiff Counsel Andrew Biviano to
discuss that these interrogatories and request for production were past due and
outstanding and to discuss when we would receive answers. (See Exhibit No. 2).

a: During this discovery telephone conference, I was advised by
Plaintiff Counsel Biviano that he would not be producing his client’s high school
records from Wenatchee High School or Westside High School, which is an

alternative high school in the City of Wenatchee.

Carlson & McMahon, PLLC
a — OF PATRICK MCMAHON 715 Washington Street / Post Office Box 2965

Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679
20
Zz}
22
23
24
25
26
27
28
29

30

Case 2:18-cv-00178-RMP ECF No. 36 _ filed 04/11/19 PagelD.316 Page 3 of 16

6. I discussed with Plaintiff Counsel Biviano that the records would be
part of the overall background of the Plaintiff provided to our
psychiatrist/psychologist who will be selected to perform an independent
evaluation of the Plaintiff relating to his claim for damages.

7. I was informed by Plaintiff Counsel Biviano that I would need to do
a Motion to Compel in order to receive an Order from the Court to obtain these
records.

RESPECTFULLY SUBMITTED THIS 11" day of APRIL, 2019.

CARLSON & McMAHON, PLLC

By __/s/ Patrick McMahon
PATRICK MCMAHON, WSBA #18809
Attorney for Defendants
715 Washington Street / P.O. Box 2965
Wenatchee, WA 98807-2965
509-662-6131

509-663-0679 Facsimile
patm(@carlson-mcmahon.org

WCRP0S5-02450\PLE Federal\DEC PM SUPP MTN TO COMPEL PRODUCTION OF SCHOOL RECORDS.4-11-19

Carlson & McMahon, PLLC
| OF PATRICK MCMAHON 715 Washington Street / Post Office Box 2965

Wenatchee, WA 98807-2965

 

(509) 662-6131 Fax (509) 663-0679
20

21

22

23

24

25

26

27.

28

29

30

 

Case 2:18-cv-00178-RMP ECF No. 36_ filed 04/11/19 PagelD.317 Page 4 of 16

CERTIFICATION OF SERVICE

I declare under penalty of perjury under the laws of the State of
Washington that on April 11, 2019, I electronically filed the foregoing with the
Clerk of the Court for the United States District Court for the Eastern District of
Washington using the CM/ECF system which will send notification of such filing
to:

Andrew S. Biviano abiviano@pt-law.com

Breean L. Beggs bbeggs@pt-law.com
Mary Elizabeth Dillon bdillon@pt-law.com
Elizabeth A Adams eadams@terrellmarshall.com

Toby James Marshall tmarshall@terrellmarshall.com

And I certify that I have mailed by United States Postal Service the
foregoing to the following non CM/ECF participants:

Signed at Wenatchee, Washington on April 11, 2019.

/s/ Patrick McMahon
PATRICK MCMAHON, WSBA #18809

Carlson & McMahon, PLLC
a OF PATRICK MCMAHON 715 Washington Street / Post Office Box 2965

Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679
 

Case 2:18-cv-00178-RMP ECF No. 36

Patrick McMahon, WSBA #18809
Attorney for Defendants

Carlson & McMahon, PLLC

715 Washington Street

 

 

filed 04/11/19 PagelD.318 Page 5 of 16

P.O. Box 2965
Wenatchee, WA 98807-2965
509-662-6131
509-663-0679 Facsimile
patm@carlson-mcmahon.org
THE HONORABLE ROSANNA MALOUF PETERSON
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON
JOSHUA BRENT STULLER, NO. 2:18-CV-00178-RMP
individually and on behalf of all others
similarly situated, DEFENDANT BILL LARSEN,
INTERIM DIRECTOR OF
Plaintiff, THE CHELAN COUNTY
vs REGIONAL JUSTICE
‘ CENTER’S, FIRST SET OF
CHELAN COUNTY, WASHINGTON; INTERROGATORIES AND
BILL LARSEN, in his official capacity as REQUEST FOR
Interim Director of the Chelan County PRODUCTION OF
Regional Justice Center; LESLIE DOCUMENTS PROPOUNDED
CARLSON, in her official capacity as the TO PLAINTIFF JOSHUA
Chelan County Regional Justice Center BRENT STULLER
Mental Health Manager, and their officers,
agents, employees, and successors,
Defendants.
TO: JOSHUA BRENT STULLER, Plaintiff

AND TO: ANDREW S. BIVIANO, BREEAN L. BEGGS and
MARY ELIZABETH DILLON, Attorneys for Plaintiff

DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF

THE CHELAN COUNTY REGIONAL JUSTICE
CENTER'S, FIRST SET OF INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
PROPOUNDED TO PLAINTIFF JOSHUA BRENT
STULLER
Page |

EXHIBIT

Carlson & McMahon, PLLC
715 Washington Street
Post Office Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.319 Page 6 of 16

AND TO: TOBY J. MARSHALL and ELIZABETH A. ADAMS, “CLASS
ACTION” Attorneys for Plaintiff

I.
DEFINITIONS AND PROCEDURES
A. PROCEDURES.
Pursuant to Federal Rules of Civil Procedure, DEFENDANT BILL LARSEN,

Interim Director of the Chelan County Regional Justice Center, requests that
Plaintiff answer the following Interrogatories and respond to the following Requests
for Production within thirty (30) days after service in accordance with FRCP 33 and
34, to the law offices of Carlson & McMahon, PLLC, 715 Washington Street, P.O.
Box 2965, Wenatchee, WA 98807-2965.
B. SCOPE OF ANSWERS.
By use of the pronoun "you" or the noun "plaintiff" or "plaintiffs" it is intended that
the answers are to include all information known to the persons to whom the
Interrogatories are directed, their officers and employees, agents, attorneys and
investigators.
C. DOCUMENT.

As used herein, the word "document" shall mean the original and any copy,
regardless of origin or location of any book, pamphlet, periodical, letter,

memorandum, telegram, report, record, study, handwritten note, map, drawing,

DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF a
THE CHELAN COUNTY REGIONAL JUSTICE Pose titioe bax deds
CENTER'S, FIRST SET OF INTERROGATORIES AND Wenstchee, WA 98007-2965
REQUEST FOR PRODUCTION OF DOCUMENTS (509) 662-6131. Fax (509) 663-0679
PROPOUNDED TO PLAINTIFF JOSHUA BRENT

STULLER

Page 2

 
Case 2:18-cv-00178-RMP ECF No. 36 _ filed 04/11/19 PagelD.320 Page 7 of 16

working paper, chart, paper, graph, index, tape, data sheet or data processing card,
or any other written, recorded, transcribed, punched, taped, filmed, photographic or
graphic matter, however produced or reproduced, to which you have or have had
access.
D. IDENTIFY OR IDENTITY.
As used herein, "identify" or "identity" used in reference to an individual person
means to state his full name and present address, his present or last-known position
and business affiliation, and his position and business affiliation at the time in
question. "Identify" or "identity" when used in reference to a document means to
state the date and author, type of document (e.g., letter, memorandum, telegram,
chart, etc.) or some other means of identifying it, and its present location or
custodian. If any such document was, but is no longer in your possession or subject
to your control, state what disposition was made of it.
E. ADDITIONAL DEFINITIONS.

The phrases "the occurrence," "the alleged occurrence," "this occurrence," "the
injuries," and "incident" refer to the incident which is the subject matter of this

lawsuit, as described in Plaintiff's Complaint herein.

F. DUTY TO SUPPLEMENT.

DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF arisen © Sebtabon, PLLC
THE CHELAN COUNTY REGIONAL JUSTICE fGen ar
CENTER’S, FIRST SET OF INTERROGATORIES AND Wemutihioe: WA, Sele 0i5
REQUEST FOR PRODUCTION OF DOCUMENTS (509) 662-6131 Fax (509) 663-0679
PROPOUNDED TO PLAINTIFF JOSHUA BRENT

STULLER

Page 3

 
Case 2:18-cv-00178-RMP ECF No. 36 _ filed 04/11/19 PagelD.321 Page 8 of 16

In accordance with FRCP 26, these Interrogatories and Requests for Production
of Documents are continuing in nature and it is your duty to seasonably
supplement your answers and responses thereto as required by the Federal Rules
of Civil Procedure, and the Local Rules for the Eastern District of Washington.
INTERROGATORIES

INTERROGATORY NO. 1: Since your Conditional Release issued on
December 19, 2017, pursuant to cause number 15-1-00691-7, provide any/all
entities that have treated you for chemical dependency up to and including the

present time, providing the entity’s name, address, and dates of treatment.

ANSWER:

INTERROGATORY NO. 2: Identify any treatment counselor or person
providing treatment associated with the entity identified in the preceding
interrogatory, providing the person’s name, title, and professional address.

ANSWER:
DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF Carlson & McMahon, PLLC
THE CHELAN COUNTY REGIONAL JUSTICE Seti ac Saat
CENTER'S, FIRST SET OF INTERROGATORIES AND = en aginpnlaneueaen
REQUEST FOR PRODUCTION OF DOCUMENTS ($09) 662-6131 Fax (509) 663-0679
PROPOUNDED TO PLAINTIFF JOSHUA BRENT
STULLER

Page 4

 
f

Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.322 Page 9 of 16

REQUEST FOR PRODUCTION NO. 1: Produce any/all records for the
entities/persons identified in the preceding interrogatories.

RESPONSE:

INTERROGATORY NO. 3: Are you a high school graduate? If yes,

| provide the name and address of the high school and the year of graduation.

ANSWER:

REQUEST FOR PRODUCTION NO. 2: Produce copies of your high
school transcripts for the educational institution identified in the preceding

interrogatory.

RESPONSE:
DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF eS en Pe
THE CHELAN COUNTY REGIONAL JUSTICE acuing?

Post Office Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

CENTER'S, FIRST SET OF INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
PROPOUNDED TO PLAINTIFF JOSHUA BRENT
STULLER

Page 5

 
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.323 Page 10 of 16

INTERROGATORY NO. 4: State any formal education or technical

training you have undertaken since graduation from high school, providing the
name, address, and years of attendance for each entity identified.

ANSWER:

REQUEST FOR PRODUCTION NO. 3: Produce copies of any/all
transcripts from the educational institution or trade school identified in the
preceding interrogatory.

RESPONSE:

INTERROGATORY NO. 5: Provide a listing of all jobs you have held
since the age of eighteen (18), providing the name, address, and employer identified
as well as the periods of employment for each employer identified.

ANSWER:
Carlson & McMahon, PLLC
DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF ’
THE CHELAN COUNTY REGIONAL JUSTICE 715 Washington Street

Post Office Box 2965
Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

CENTER’S, FIRST SET OF INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
PROPOUNDED TO PLAINTIFF JOSHUA BRENT
STULLER

Page 6

 
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.324 Page 11 of 16

INTERROGATORY NO. 6: Since being provided Conditional Release,
identify any/all jobs/employers you have made applications with, providing the
name and address of any prospective employer, the occupation applied for and the
date of application.

ANSWER:

INTERROGATORY NO. 7: Set forth the number of scheduled Alcoholics
Anonymous meetings you have missed or were absent from and provide the date
and reason for the absence.

ANSWER:

DATED THIS LF day of February, 2019.

CARLSO runs PLLC
By: Lp fi ie ;

PATRICK McMAHON, WSBA #18809
Attorney for Defendant Bill Larsen, et al.

 

715 Washington Street

P.O. Box 2965

Wenatchee, WA 98807-2965
509-662-6131 / 509-663-0679 Facsimile
patm@carlson-mcmahon.org

DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF er = ee: PLLC
THE CHELAN COUNTY REGIONAL JUSTICE ill oe

CENTER’S, FIRST SET OF INTERROGATORIES AND
REQUEST FOR PRODUCTION OF DOCUMENTS
PROPOUNDED TO PLAINTIFF JOSHUA BRENT
STULLER

‘Page 7

Wenatchee, WA 98807-2965
(509) 662-6131 Fax (509) 663-0679

 
 

Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.325 Page 12 of 16

|STATE OF WASHINGTON _ )

) ss.
County of )

JOSHUA BRENT STULLER, being first duly sworn on oath, deposes and
says: That he is the Plaintiff in the above-entitled matter. That he has read the
foregoing Answers to Interrogatories and Responses to the Requests for
Production of Documents, know the contents thereof and believe the same to be
true and correct.

 

JOSHUA BRENT STULLER, Plaintiff
SUBSCRIBED AND SWORN to before me this day of

, 2019 by JOSHUA BRENT STULLER.

 

Typed/Printed Name
NOTARY PUBLIC, State of Washington
My Commission Expires:

 

Pursuant to FRCP 26(g), I, ANDREW S. BIVIANO, certify that I am the
attorney for the party/ies answering discovery requests; that I have read the
discovery requests propounded to plaintiff(s) and the answers and objections, if any,
thereto, know the contents thereof and believe the same to be true.

 

ANDREW S. BIVIANO, WSBA #38086
Attorney for Plaintiff

WCRP0S-02450\PLE Federa!\LARSEN’S 1" Rogs & RFP to P 2-27-19

DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF SARE B MaBae es, PEEL
THE CHELAN COUNTY REGIONAL JUSTICE Se
CENTER'S, FIRST SET OF INTERROGATORIES AND Wenatchee, WA, 98807-2065
REQUEST FOR PRODUCTION OF DOCUMENTS (509) 662-6131 Fax (509) 663-0679
PROPOUNDED TO PLAINTIFF JOSHUA BRENT

STULLER

Page 8
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.326 Page 13 of 16

\ CERTIFICATION OF SERVICE

I declare under penalty of perjury under the laws of the State of
Washington that on February AD, 2019, I mailed the foregoing document via
U.S. Mail and/or Email to:

Andrew S. Biviano / Breean L. Beggs / Mary Elizabeth Dillon
Paukert & Troppmann, PLLC
522 W. Riverside, Suite 560
Spokane WA 99201

abiviano@pt-law.com; bbeggs@pt-law.com; bdillon@pt-law.com

 

Toby J. Marshall / Elizabeth A. Adams
TERRELL MARSHALL LAW GROUP PLLC
936 North 34th Street, Suite 300
Seattle, Washington 98103

tmarshall@terrellmarshall.com; eadams@terrellmarshall.com

Signed at Wenatchee, Washington on February 7, 2019.

Francesca Hansen, Legal Assistant

DEFENDANT BILL LARSEN, INTERIM DIRECTOR OF Carlson & McMahon, PLLC
THE CHELAN COUNTY REGIONAL JUSTICE i aceon ial an
CENTER'S, FIRST SET OF INTERROGATORIES AND Waanathan, WA wenet aie
REQUEST FOR PRODUCTION OF DOCUMENTS (509) 662-6131 Fax (509) 663-0679
PROPOUNDED TO PLAINTIFF JOSHUA BRENT

STULLER

 

Page 9
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.327 Page 14 of 16

Carlson & McMahon, PLLC
ATTORNEYS AT LAW

715 Washington Street
Post Office Box 2965
Wenatchee, Washington 98807-2965
Telephone: (509) 662-6131 Facsimile: (509) 663-0679

Patrick McMahon David L. Force

Retired
Larry Carlson

VIA EMAIL and U.S. MAIL

April 8, 2019

Andrew S. Biviano

Paukert & Troppmann, PLLC
522 W. Riverside, Suite 560
Spokane WA 99201

Re: — Stuller v. Chelan Co.., et al.
United States District Court for the Eastern District
Of Washington Cause No. 2:18-cv-00178-RMP
- Discovery Telephone Conference

Dear Andrew:

This will confirm our telephone conference on April 8, 2019, regarding outstanding discovery in
the above-referenced matter. Initially, thank you for taking time out of your schedule to discuss
the discovery issues with my office.

First, your legal assistant will resend the disc with the attachments to our Request for Production
contained in Chelan County’s First Set of Interrogatories and Requests for Production of
Documents. This will also confirm that you are still waiting to receive copies of medical records
from the providers identified in Interrogatory No. 1 to our first set of discovery requests. It will
be appreciated if you can forward whatever records you have received to date and provide those
that come in at your earliest convenience.

Next, this letter will confirm our discussion regarding your reluctance to provide Joshua Stuller’s
school records. Specifically, I have requested his high school transcripts from Wenatchee High
School and West Side High School, as well as any transcripts from Shoreline Community
College. The specific requests for these documents were made in Defendant Bill Larsen’s
Request for Production of Documents sent to your office on February 27, 2019. The formal
answers and documents are late and I assume they will be forthcoming.

EXHIBIT ea
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.328 Page 15 of 16
Case 2:18-cv-00178-RMP ECF No. 36 filed 04/11/19 PagelD.329 Page 16 of 16

Andrew S. Biviano

Paukert & Troppmann, PLLC
April 8, 2019

Page 2 of 2

Nevertheless, given your statement that you are refusing to provide the educational records, I
will note the matter on for a discovery conference with the court, based on the position taken
during our discovery conference today.

Again, thank you for forwarding the discovery disc and any records you have collected up to the
present time.

Sincerely,
Dictated but not signed to avoid delay.

PATRICK MCMAHON
PM:fh
cc: Doug Shae (via email)
~- Susan Hinkle (via email)
Lynda Bishop (via email)

WCRP05-02450\LTR\BIVIANO CR 26(i) Teleconference Follow Up 4-8-19
